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                                   STATEMENT OF FACTS
        Your affiant is a Federal Police Officer with the Supreme Court of the United States Police
Department (hereinafter Affiant) and has been so employed since August 2014. Your affiant is an
investigative law enforcement officer of the United States within the meaning of Section 6121 of
Title 40 of the United States Code. As a Police Officer with the Supreme Court of the United
States, I am authorized to investigate violations of law of the United States and to execute warrants
issued under the authority of the United States. I have received formal training through the Federal
Law Enforcement Training Center and completed the Uniformed Police Training Program. I have
received on the job training in investigation techniques, social media fundamentals, domestic
investigation operations, online threats, and as well as overall threat assessment operations. Your
affiant is presently assigned to the FBI Joint Terrorism Task Force Washington Field Office as a
liaison for the Supreme Court Police. Your affiant investigates all crimes against the Supreme
Court of the United States to include crimes against the Justices and the employees, building and
grounds of the Supreme Court. Your affiant also provides protection to the Justices and to the
employees, visitors, building and grounds of the Supreme Court.

       Your affiant alleges the following facts to show that there is probable cause to believe Cody
Tarner violated the arson and destruction of property laws of the United States, specifically, Title
18, United States Code, Sections 844(i) and 1361. The following is based upon information
witnessed by your affiant, or provided to him by other law enforcement officers/agents,
informants, and witnesses, all of who your affiant believes to be credible.
        On July 15, 2020 at approximately 1:22 PM, Cody Tarner was observed on Supreme Court
Police security camera footage pulling onto the Supreme Court’s property located at 1 First Street
Northeast, Washington DC, and parking his vehicle in an employee only parking spot. During this
time, Cody Tarner was observed walking around the Supreme Court and U.S. Capitol properties
for several minutes before returning to his vehicle and pulling out what appeared to be a red gas
canister. At approximately 1:48 PM, Cody Tarner was observed on security camera footage
pouring an unknown liquid onto three Supreme Court Police unmarked vehicles parked in Supreme
Court employee only parking spaces. While pouring the liquid on the vehicles, it was observed
that some of the liquid was splashing onto his person and clothing. All the unmarked vehicles had
emergency police lights visible from the outside of the vehicles, and one of the vehicles had
emergency police lights on the roof of the vehicle. Cody Tarner was then observed lighting one
of the vehicles on fire resulting in a violent ignition of the liquid. This action resulted in Cody
Tarner being engulfed in the fire causing severe burns and injuries to himself. Medical staff later
reported that he suffered burns to approximately 40% of his body.
Officer Grable, an officer with the Supreme Court Police Department, was on the First Street
sidewalk of the Supreme Court on a fixed security post where she observed smoke and flames and
heard a large explosion near the intersection of First Street and Maryland Avenue, Northeast.
Officer Grable observed Cody Tarner walking away from the explosion with burns and smoke
coming from his clothing. Officer Grable called for assistance and started administering first aid
to Cody Tarner. Your affiant watched and reviewed the described security camera footage of the
incident and confirmed that the individual who committed the arson and destruction of property
was the person Officer Grable interacted with and to whom Officer Grable administered first aid.
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The individual that committed the arson and destruction of property was identified at the scene by
Officer Makstutis of the U.S. Supreme Court Police as Cody Tarner through his driver’s license
that was located next to Cody Tarner along with other possessions. It is noted that Cody Tarner’s
pants pockets had burned off from the fire. The individual who committed the arson and
destruction of property also identified himself to medical personnel as Cody Tarner. Your Affiant
and other officers also reviewed a photograph taken by U.S. Capitol Police of an individual U.S.
Capitol Police identified as Cody Tarner during a prior law enforcement interaction with Cody
Tarner. According to law enforcement officers, including Officer Grable, the individual in that
photograph is the same individual your Affiant observed on security camera footage committing
the arson and destruction of property.

The fire that Cody Tarner ignited after pouring the liquid, believed to be an accelerant, on the three
vehicles caused one of the vehicles to be completely engulfed in flames and a second vehicle to
also sustain fire damage. A red fuel canister was observed on the ground next to the burning
vehicles. The two damaged vehicles, a 2016 Ford Interceptor and a 2017 Ford Expedition, are both
owned by the Federal Government, specifically the U.S. Supreme Court Police Department. The
third vehicle, a 2012 Ford Econoline was not damaged and is also owned by the Federal
Government, specifically the U.S. Supreme Court Police Department. The U.S. Supreme Court
Police Department conducts business in interstate commerce, for instance by purchasing vehicles
and other equipment and supplies, including the vehicles at issue here, in interstate commerce. In
doing so the vehicles are used in and affect interstate commerce, including by crossing state lines
to provide protection details for the Justices and for other official business of the U.S. Supreme
Court Police Department. The activities of the U.S. Supreme Court Police Department in
enforcing laws and providing protection, including with the use of the vehicles, also affect
interstate commerce. Both the Ford Interceptor and the Ford Expedition sustained damage, with
the Ford Interceptor that was engulfed in flames appeared to your Affiant to be a total loss,
resulting in damages in excess of $1,000.


                                               __________________________________
                                               OFFICER BRENT THORWARD
                                               UNITED STATES SUPREME COURT POLICE


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 17th day of July, 2020.


                                               ___________________________________
                                               DEBORAH A. ROBINSON
                                               U.S. MAGISTRATE JUDGE




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